           Case 06-70759              Doc 80      Filed 03/02/09 Entered 03/02/09 09:08:49                              Desc Main
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                                                United States Bankruptcy Court
                                                                  of the
                                                        Northern District Of Illinois
                                                            Western Division
                                                               Trustee's Final Report
In Re:   GARY J. ADELIZZI                                                                Case Number: 06-70759
         1081 VICTORIA DRIVE                              SSN-xxx-xx-7351
         FOX RIVER GROVE, IL 60021

                                                                                               Case filed on:              5/2/2006
                                                                                          Plan Confirmed on:              9/29/2006
                                                                   D Dismissed

         Total funds received and disbursed pursuant to the plan: $75,138.00                       Detail of Disbursements below:

 Claim          Name of the                                 Claimed by           Allowed by          Principal           Interest
 #              Claimant                                   the Creditor           the Court            Paid                Paid
 772     CLERK OF U.S. BANKRUPTCY COURT                            0.00                 0.00               0.00             0.00
                         Total Administration                      0.00                 0.00               0.00             0.00

 001     HARRIS BANK PALATINE                                       0.00                0.00          10,500.00             0.00
 004     WELLS FARGO HOME MORTGAGE INC                              0.00                0.00          42,903.51             0.00
                        Total Continue                              0.00                0.00          53,403.51             0.00

 000     ATTORNEY ROBERT V. SCHALLER                            2,500.00            2,500.00           1,000.00             0.00
                       Total Legal                              2,500.00            2,500.00           1,000.00             0.00

 999     GARY J. ADELIZZI                                           0.00                0.00               0.00             0.00
                            Total Debtor Refund                     0.00                0.00               0.00             0.00

 002     HARRIS BANK PALATINE                                   7,930.02           3,510.05            3,510.05            0.00
 003     NEW SPIRIT CREDIT UNION                                3,535.72           2,936.19            2,936.19          490.17
 005     WELLS FARGO HOME MORTGAGE INC                         19,379.58          19,379.58            8,577.95            0.00
 052     CHASE AUTO FINANCE                                    16,897.95               0.00                0.00            0.00
                        Total Secured                          47,743.27          25,825.82           15,024.19          490.17

 006     AFNI, INC.                                                 0.00                0.00               0.00             0.00
 007     AMERICAN HONDA FINANCE                                     0.00                0.00               0.00             0.00
 008     AMERICAN EXPRESS CENTURION BANK                           82.33               82.33               2.43             0.00
 009     AMEX                                                       0.00                0.00               0.00             0.00
 010     ROUNDUP FUNDING LLC                                      574.66              574.66              16.86             0.00
 011     BANK ONE                                                   0.00                0.00               0.00             0.00
 012     CAPITAL ONE BANK (USA) NA                              5,930.51            5,930.51             174.00             0.00
 013     CAP ONE BK                                                 0.00                0.00               0.00             0.00
 014     CBUSASEARS                                                 0.00                0.00               0.00             0.00
 015     CHASE                                                      0.00                0.00               0.00             0.00
 016     CHASE                                                      0.00                0.00               0.00             0.00
 017     CHASE NA                                                   0.00                0.00               0.00             0.00
 018     ROUNDUP FUNDING LLC                                      486.08              486.08              14.26             0.00
 019     COMED                                                      0.00                0.00               0.00             0.00
 020     DISCOVER FIN SVCS LLC                                      0.00                0.00               0.00             0.00
 021     FCNB/SPIEGL/EBAUR/NWPT                                     0.00                0.00               0.00             0.00
 022     FCNB/SPIEGL/EBAUR/NWPT                                     0.00                0.00               0.00             0.00
 023     FIRST USA BANK                                             0.00                0.00               0.00             0.00
 024     FIRST USA BANK NA                                          0.00                0.00               0.00             0.00
 025     GEMB/JCP                                                   0.00                0.00               0.00             0.00
 026     B-LINE LLC                                               662.30              662.30              19.43             0.00
 027     H&F LAW                                                    0.00                0.00               0.00             0.00
 028     HARRIS BANK                                                0.00                0.00               0.00             0.00
 029     HARRIS TRUST & SAVINGS                                     0.00                0.00               0.00             0.00
 030     HSBC/CARSN                                                 0.00                0.00               0.00             0.00
 031     HSBC/CARSN                                                 0.00                0.00               0.00             0.00
 032     INVSTMTRTRVR                                               0.00                0.00               0.00             0.00
 033     LORD & TAYLOR                                            594.57              594.57              17.44             0.00
 034     LVNV FUNDING                                               0.00                0.00               0.00             0.00
 035     MARSHALL FIELD                                           483.47              483.47              14.18             0.00
 036     MED BUSI BUR                                               0.00                0.00               0.00             0.00
 037     MRSI                                                       0.00                0.00               0.00             0.00
 038     NICOR GAS                                                303.04              303.04               8.89             0.00
 039     NICOR GAS                                                  0.00                0.00               0.00             0.00
 040     NTB/CBUSA                                                  0.00                0.00               0.00             0.00
 041     OPEX COM                                                  63.47               63.47               1.86             0.00
 042     PROFCRDSVS                                                 0.00                0.00               0.00             0.00
 043     RNB-FIELDS3                                                0.00                0.00               0.00             0.00
 044     RNB-FIELDS3                                                0.00                0.00               0.00             0.00
 045     SBC AMERITECH                                              0.00                0.00               0.00             0.00
 046     SUB NATL BK OF PALATIN                                     0.00                0.00               0.00             0.00
 047     SUBURBAN EAR NOSE & THROAT ASSOC.                          0.00                0.00               0.00             0.00
 048     ROUNDUP FUNDING LLC                                    5,811.27            5,811.27             170.50             0.00
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                                                               Western Division
 049     WFFINANCE                                                     0.00                 0.00                    0.00         0.00
 050     WFFINANCE                                                     0.00                 0.00                    0.00         0.00
 051     CREDITORS BANKRUPTCY SERVICE                              2,505.88             2,505.88                   73.52         0.00
 053     ROUNDUP FUNDING LLC                                       1,149.29             1,149.29                   33.72         0.00
 054     ROUNDUP FUNDING LLC                                         352.23               352.23                   10.33         0.00
 055     HILCO RECEIVABLES, LLC                                        0.00                 0.00                    0.00         0.00
                        Total Unsecured                           18,999.10            18,999.10                  557.42         0.00

                                  Grand Total:                    69,242.37            47,324.92            69,985.12          490.17

Total Paid Claimant:         $70,475.29
Trustee Allowance:            $4,662.71                   Wherefore, your petitioner prays that a final Decree be entered
Percent Paid Unsecured:            2.93            discharging the trustee and the trustee's surety from any and all
                                                   liablility on account of the within proceedings, and closing the estate,
                                                   and for such other relief as is just. Pursuant to FRBP, I hereby
                                                   certify that the subject case has been fully administered.

         Report Dated:

                                                                           /s/ Lydia S. Meyer
                                                                         Lydia S. Meyer, Trustee



         This is to certify that a copy of this notice has been mailed to the debtor and the debtor's attorney.


         Dated at Rockford, IL on 02/26/2009                        By /s/Heather M. Fagan
